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_________




                                                                                   November 5, 2019


Chief Judge Dora Lizette Irizarry
Eastern District of New York
225 Cadman Plaza East, 1214 South
Brooklyn, New York 11201


Re:      Susano et al v. Sabor Guatemalteco Inc. et al
         Index No. 18-cv-07438-DLI-LB



Your Honor:

         Our firm represents Plaintiffs in the above-referenced matter. We write in accordance

with Your Honor’s October 29, 2019 Order to apologize to The Court for not filing the default

motion. Due to the voluminous amount of cases, the undersigned was not able to submit the

motion for default judgment as of yet. We respectfully request one-week from today to submit

our motion for default judgment.



                                                         Respectfully Submitted,

                                                         _/s/ Gennadiy Naydenskiy      __________
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